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IN THE UNITED STATES DISTRICT cOURT ”mW-- ...._lm
FoR THE wESTERN DISTRICT oF TENNESSEE
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X CLTD%F$ DJSTHC-TCOlHT
BRIAN c. wILsoN, X " TN'MEW"S
X
Plaintiff, X
X
vs. X No. 05-2157-Ma/P
X
TENNESSEE DEPARTMENT OF X
TRANSPORTATION, et al., X
X
Defendant. X
X

 

ORDER DIR.ECTING PLAINTIFF TO COMPLY WITH RULES
ORDER 'I'O FILE AMENDED COMPLAINT
AND
ORDER STRIKING IRREGULAR FILING

 

On May 16, 2005, United States Magistrate Judge Pham directed
the plaintiff to file a more definite statement in compliance with
Fed. Rule Civ. P. 8(a)(2). After receiving two extensions of time
in which to file the more definite statement, plaintiff filed a
“response" on July 22, 2005.

Fed. R. CiV. P. 10 requires that documents contain numbered
paragraphs. Plaintiff's “response” begins with paragraph five.
Plaintiff must file an amended complaint in which the more definite
facts of the “response” are contained in the corresponding
paragraphs of the original complaint. The paragraphs must be
sequentially numbered in a manner which allows the defendant to
respond to the allegations of each paragraph. Furthermore, the

“response” does not contain a certificate of consultation as

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‘=-;L;Te 5b and;‘or 79(a) FHCP on _M-

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required by Local Rule 7.2(a)(l)(B) or a certificate of service as
required by Fed. R. Civ. P. B(d) and Local Rule 83.7(b).

Plaintiff is proceeding pro §§ and must familiarize himself
with the Federal Rules of Civil Procedure and the Local Rules of
this Court so that his pleadings comply with those rules. The
Court hereby directs plaintiff to file an amended complaint
containing the more definite statement which complies with the
Federal and Local rules. The amended complaint shall be filed
within ten days of the entry of this order upon the docket. After
that date, the defendant shall answer the complaint or file the
appropriate motion.

It is further ordered that the plaintiff shall serve a copy of
every further document filed in this cause on the attorney for the
defendant and shall make a certificate of service on every document
filed. Plaintiff is hereby directed that such further documents
must contain a certification at the end reading:

l hereby certify that a true and exact copy of the

foregoing has been forwarded by first class, postage

prepaid mail, to Zachary Griffith, Office of the Attorney

General, P.O. Box 20207, Nashville, TN 32707-0207, on
this day of , 2005.

 

Brian C. Wilson
Accordingly, it is ORDERED that plaintiff's “response”, docket
entry # 13, is stricken from the docket in this case because it
does not comply with the Federal Rules of Civil Procedure or the
Local Rules of this Court. Furthermore, the document was not
served on opposing counsel. The Clerk is ORDERED not to accept for

filing any further documents submitted by this plaintiff that are

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not accompanied by a certificate of service or certificate of
consultation as required.

A failure to timely comply with any requirement of this order
will result in the dismissal of the complaint. The plaintiff must
also keep this Court informed of his current address. If
plaintiff fails to inform the Court of a change of address, he will
not be excused for failing to comply with the Court's orders and
deadlines because an order was delayed or not delivered.

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IT le so oRDERED this 7"*’%` day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02157 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Brian C. Wilson
6034 Chandeleur Drive
Millington, TN 38053--812

Zachary S. Griftith

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable Samuel Mays
US DISTRICT COURT

